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                          Exhibit Z-1
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From:          Attorney-1
To:            Palid, Andrew; Scheffler, David; Michele Perillo (SEC Boston (hutch))
Cc:            Armstrong, Scott (CRM); Liolos, John (CRM); Hale, Jeremy S. (HO) (FBI) Attorney-1
Subject:       [EXTERNAL] Supplemental Whistleblower Submission re Ustocktrade (B-3480) – 11.4.2022
Date:          Friday, November 4, 2022 5:17:43 PM
Attachments:   image003.png
               Notes on recordings - Supplemental Whistleblower Submission 11-4-2022.xlsx




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